Case 24-70089-swe11                      Doc 74         Filed 05/01/24 Entered 05/01/24 23:49:13                       Desc Main
                                                       Document     Page 1 of 8



                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            WICHITA FALLS DIVISION

   IN RE:                                                                      §
                                                                               §
   HIGH PLAINS RADIO NETWORK,                                                  §             CASE NO. 24-70089
   LLC,                                                                        §
        DEBTOR.                                                                §
                                                                               §

                                                        NOTICE OF HEARING

 Please take notice that an expedited hearing has been set for MAY 28, 2024 AT 1:30 P.M.
 before the Honorable Scott W. Everett, United States Bankruptcy Judge regarding the matters
 referenced and described below. The hearing will be conducted at Judge Everett's
 Courtroom, 1100 Commerce Street, 14th Floor, Courtroom #3, Dallas, TX 75242.

            The WebEx hearing instructions for the Court are attached below.

  For WebEx Video Participation/Attendance:                                          https://us-courts.webex.com/meet/everett

  For WebEx Telephonic Participation/Attendance:                                     Dial-In: 1-650-479-3207
                                                                                     Access Code: 476 420 189



     Filing Date                                                                   Docket Text


     04/01/2024                 11 (29 pgs; 2 docs) Motion to use cash collateral Emergency Motion Filed by Debtor
                               High Plains Radio Network, LLC (previously noticed with / in order)

     04/02/2024               13 (16 pgs; 2 docs) Motion to maintain bank accounts. Filed by Debtor High Plains
                             Radio Network, LLC (previously noticed with / in order)

                              57 (20 pgs; 2 docs) Application to employ Weycer Kaplan Pulaski Zuber PC as
     04/25/2024              Attorney Filed by Debtor High Plains Radio Network, LLC

                              72 (17 pgs; 2 docs) Application to employ Media Services Group as Broker Filed by
     05/01/2024              Debtor High Plains Radio Network, LLC




 NOTICE OF HEARING — Page 1
 notice hearing NOH 20240528 4875-4856-1077 v.1.docx[1] 4876-1603-0907, v. 1
Case 24-70089-swe11                      Doc 74         Filed 05/01/24 Entered 05/01/24 23:49:13   Desc Main
                                                       Document     Page 2 of 8



    Dated: May 1, 2024                                   Respectfully submitted:

                                                         WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                         By:    /s/ Jeff Carruth
                                                            JEFF CARRUTH (TX SBN: 24001846)
                                                            2608 Hibernia, Suite 105
                                                            Dallas, TX 75204-2514
                                                            Telephone: (713) 341-1158
                                                            Fax: (713) 961-5341
                                                            E-mail: jcarruth@wkpz.com

                                                         PROPOSED ATTORNEYS FOR
                                                         HIGH PLAINS RADIO NETWORK, LLC,
                                                         DEBTOR AND DEBTOR IN POSSESSION


                                  CERTIFICATE OF SERVICE
 The undersigned hereby certifies that a true and correct copy of the foregoing was served on May
 1, 2024 (1) by electronic notice to all ECF users who have appeared in this case to date, and/or as
 set forth below and (2) by regular mail to all parties appearing in the attached service list.

 COPIES OF THE EXHIBITS WERE NOT SERVED BY REGULAR MAIL. PLEASE
 CONTACT THE UNDERSIGNED IF YOU WISH TO RECEIVE THE EXHIBITS.

                                                                               /s/Jeff Carruth
                                                                               Jeff Carruth




 NOTICE OF HEARING — Page 2
 notice hearing NOH 20240528 4875-4856-1077 v.1.docx[1] 4876-1603-0907, v. 1
Case 24-70089-swe11                      Doc 74         Filed 05/01/24 Entered 05/01/24 23:49:13        Desc Main
                                                       Document     Page 3 of 8


                                                              ECF SERVICE LIST

 24-70089-swe11 Notice will be electronically mailed to:

 Jeffery D. Carruth on behalf of Debtor High Plains Radio Network, LLC
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;carruthjr87698@notify.bestcase.com;ATTY_CARRUTH@bluestylus.com;jc
 arruth@ecf.courtdrive.com
 Paul H. Cross on behalf of Creditor Hanmi Bank phclease@msn.com
 Shanna M. Kaminski on behalf of Interested Party Union Funding Source, Inc. skaminski@kaminskilawpllc.com
 Sherrel K. Knighton on behalf of Creditor Malakoff ISD Sherrel.Knighton@lgbs.com, Dora.Casiano-
 Perez@lgbs.com;Sean.French@lgbs.com;Eva.Parker@lgbs.com;Alexis.Hall@lgbs.com;Dallas.Bankruptcy@lgbs.com
 Matthew F. Kye on behalf of Creditor Amur Equipment Finance, Inc. mkye@kyelaw.com, dsullivan@kyelaw.com
 Julie Anne Parsons on behalf of Creditor Eastland County Appraisal District jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com
 Julie Anne Parsons on behalf of Creditor The County of Henderson, Texas jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com
 Julie Anne Parsons on behalf of Creditor The County of Stephens, Texas jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com
 Scott M. Seidel -SBRA V scott@scottseidel.com, csms11@trustesolutions.net;susan.seidel@earthlink.net
 Dawn Whalen Theiss on behalf of Creditor Small Business Administration dawn.theiss@usdoj.gov,
 brooke.lewis@usdoj.gov;CaseView.ECF@usdoj.gov
 United States Trustee ustpregion06.da.ecf@usdoj.gov
 David Weitman on behalf of Creditor Vertical Bridge REIT, LLC david.weitman@klgates.com




 MOTION OF DEBTOR TO EMPLOY BUSINESS BROKER AND GRANT RELATED RELIEF — Page 1
 notice hearing NOH 20240528 4875-4856-1077 v.1.docx[2] 4876-1603-0907, v. 1
                       Case 24-70089-swe11   Doc 74    Filed 05/01/24 Entered 05/01/24 23:49:13   Desc Main
                                                      Document     Page 4 of 8



                                                          SERVICE LIST




4876-1603-0907, v. 1
                       Case 24-70089-swe11   Doc 74    Filed 05/01/24 Entered 05/01/24 23:49:13   Desc Main
                                                      Document     Page 5 of 8




4876-1603-0907, v. 1
Case 24-70089-swe11                      Doc 74         Filed 05/01/24 Entered 05/01/24 23:49:13   Desc Main
                                                       Document     Page 6 of 8




 notice hearing NOH 20240528 4875-4856-1077 v.1.docx[4] 4876-1603-0907, v. 1
Case 24-70089-swe11                      Doc 74         Filed 05/01/24 Entered 05/01/24 23:49:13   Desc Main
                                                       Document     Page 7 of 8




 notice hearing NOH 20240528 4875-4856-1077 v.1.docx[4] 4876-1603-0907, v. 1
Case 24-70089-swe11                      Doc 74         Filed 05/01/24 Entered 05/01/24 23:49:13   Desc Main
                                                       Document     Page 8 of 8




 notice hearing NOH 20240528 4875-4856-1077 v.1.docx[4] 4876-1603-0907, v. 1
